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                     UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS


UNITED STATES OF AMERICA

v.                                           Case Number: 4:19−cr−00488

Maribel Santana−Cerano
Araceli Santana
Carlos Joel Hernandez
Jonny Antonio Talavera




                               NOTICE OF SETTING

TAKE NOTICE THAT A PROCEEDING IN THIS CASE HAS BEEN SET FOR
THE PLACE, DATE AND TIME SET FORTH BELOW.




Before the Honorable
Peter Bray
PLACE:
Courtroom 703
United States District Court
515 Rusk Avenue
Houston, Texas 77002
DATE: 10/30/2019
TIME: 10:00 AM

TYPE OF PROCEEDING: Arraignment
Superseding Indictment − #38


Date: October 24, 2019
                                                        David J. Bradley, Clerk
